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Attorneys for Defendant SWIFT TRANSPORTATION CO. OF ARIZONA, LLC
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA — EASTERN DIVISION
RENE E. MAPHUMULO, an individual, Case No.

Plaintiff, [San Bernardino Superior Court
Case No. CIVDS1908623]
V.

HUGH WILLIAM MCENTYER; KNIGHT- NOTICE OF REMOVAL OF
SWIFT TRANSPORTATION HOLDINGS, ACTION UNDER 28 U.S.C.
INC.; SWIFT LEASING CO., LLC; SWIFT §§1332 AND 1441(b)
TRANSPORTATION CO., INC.; SWIFT

TRANSPORTATION CO. OF ARIZONA,

LLC; SWIFT TRANSPORTATION; SWIFT

TRANSPORATION SERVICES, LLC; and

DOES 1| through 10, Inclusive,

Defendants.

 

TO THE CLERK OF THE ABOVE-CAPTIONED COURT:
PLEASE TAKE NOTICE that defendant SWIFT TRANSPORTATION
CO. OF ARIZONA, LLC (“Defendant”) hereby removes the state court action
described below to the above-captioned court on the following grounds:
/I/
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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. 881332 AND 1441(b)

 
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1. On or about March 22, 2019, plaintiff RENE E. MAPHUMULO
(“Plaintiff’) filed Case No. CIVDS1908623 in the Superior Court of the State of
California, County of San Bernardino, entitled Rene E. Maphumulo v. Hugh
William McEntyer, et al. The Complaint was served on Defendant on May 16,
2019. Plaintiff's complaint asserts a cause of action for personal injury negligence
related to a motor vehicle incident that occurred on April 7, 2017 in unincorporated
County of San Bernardino, State of California. A true and correct copy of the
Complaint is attached hereto as Exhibit 1.

2. On June 13, 2019, Defendant filed an Answer to Plaintiff's
Complaint. A true and correct copy of the Answer is attached hereto as Exhibit 2.

3. As set forth below, this is a civil action between parties domiciled in
different states, over which this court has original jurisdiction under 28 U.S.C. §
1332, and which may be removed to this Court by defendant pursuant to the
provisions of 28 U.S.C. § 1441(b).

4, Plaintiff is, and at all relevant times was, a citizen of California.

5. Defendant Hugh William McEntyer is, and at all relevant times was, a
citizen of Nevada. Defendant Hugh William McEntyer is not, and was not at any
relevant time, a citizen of California.

6. Defendant Swift Transportation Co. of Arizona, LLC is a limited
liability company organized under the law of the State of Delaware. Its principal
place of business is in the State of Arizona. Its sole member is Swift Transportation
Co., LLC.

7. Swift Transportation Co., LLC is a limited liability company
organized under the law of the State of Delaware. Its principal place of business is
in the State of Arizona. The sole member of Swift Transportation Co., LLC is
Knight-Swift Transportation Holdings, Inc.

8. _Knight-Swift Transportation Holdings, Inc. is a publicly traded

corporation organized under the law of the State of Delaware, with a principal
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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. 881332 AND 1441(b)

 
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place of business in the State of Arizona. No publicly traded entity owns more
than 10% of its stock.

9. Defendant Swift Transportation Co of Arizona, LLC is not, and was
not at any relevant time, a citizen of California.

10. Plaintiff's Complaint included a Statement of Damages alleging
$500,000,000 in general damages and $500,000,000 in special damages. A true
and correct copy of Plaintiff's Complaint is attached hereto as Exhibit 1. The
amount in controversy thus exceeds the $75,000 jurisdictional minimum of this
Court.

11. Defendant Swift Transportation Co of Arizona, LLC was served with
the Complaint on May 16, 2019. The time within which Defendant is required to
file a Notice of Removal has not yet expired.

12. Removal to this Court is proper, as the Superior Court of the State of
California, County of San Bernardino, where this action was commenced, is
located within the Central District of California, Eastern Division.

13. Defendants will give written notice of the filing of this Notice as
required by 28 U.S.C. § 1446(d) and will also file a copy of this Notice with the
Clerk of the San Bernardino County Superior Court, as required by 28 U.S.C. §
1446(d).

WHEREFORE, Defendant respectfully requests that the above-captioned

matter be removed to this Court.

Dated: June 14, 2019 SNYDER BURNETT EGERER, LLP

    

 

By: Barry Clifford Snyder / Evan
McDonugh

Attorneys for Defendant SWIFT
TRANSPORTATION CoO. OF ARIZONA,
LLC

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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. 881332 AND 1441(b)

 
